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                            United States District Court
                                      for the
                            Southern District of Florida

  Securities     and      Exchange )
  Commission, Plaintiff             )
                                    )
  v.                                )
                                      Civil Action No. 16-20270-Civ-Scola
                                    )
  OTC Capital Partners, LLC; Adi M. )
  Elfenbein; and Joseph L. Pittera, )
  Defendants.                       )

    Order Granting the SEC’s Motion for Default Judgment and Permanent
            Injunctive Relief Against Defendant Joseph L. Pittera

         The SEC has moved for a default judgment against Defendant Joseph L.
  Pittera consistent with Federal Rule of Civil Procedure 55(b)(2). (ECF No. 18).
  Previously, the Clerk of the Court entered a default under Rule 55(a). (ECF No.
  12). A “defendant, by his default, admits the plaintiff’s well-pleaded allegations
  of fact,” as set forth in the operative complaint.” Eagle Hosp. Physicians, LLC v.
  SRG Consulting, Inc., 561 F.3d 1298, 1307 (11th Cir. 2009).
         The Complaint alleges that the Pittera violated Section 5 of the Securities
  Act of 1933, 15 U.S.C. § 77e. (ECF No. 1). Having considered the Motion, the
  record, and the relevant legal authorities, the Court enters to following order
  granting the motion (ECF No. 18) and entering Final Judgment and a
  Permanent Injunction against Pittera:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

        1.     This Court has personal jurisdiction over Defendant Pittera and
  the subject matter of this action. Venue is proper in the Southern District of
  Florida.

         2.     Defendant Pittera was properly served on March 10, 2016 with a
  summons and a copy of the Complaint pursuant to Rule 4 of the Federal Rules
  of Civil Procedure [DE 10]. Thus, he has proper notice of this action.

        3.     Pursuant to Fed. R. Civ. P. 12(a)(1)(A), Defendant Pittera’s answer
  or other responsive filing to the Commission’s Complaint was due on or before
  March 31, 2016.
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         4.    Defendant Pittera failed to respond to the Complaint on or before
  March 31, 2016, and on April 11, 2016, the Clerk entered a default against him
  [DE 13].
         5.    On April 19, 2016, the Court issued an Order on Default
  Judgment Procedure stating that if Defendant Pittera failed to move to set aside
  the Clerk’s Default, or failed to otherwise respond to this lawsuit, on or before
  April 29, 2016, Default Final Judgment may be entered. [DE 16].

        6.     As of the date of this Order, Defendant Pittera has failed to move to
  set the Clerk’s Default and has failed to otherwise respond to this lawsuit.

         7.      By virtue of the Clerk’s default and failure to respond to the
  Complaint, Defendant Pittera is deemed to have admitted the allegations of the
  Complaint, and the Commission has established liability against him.
  Buchanan v. Bowman, 820 F.2d 359, 361
         (11th Cir. 1987). Thus, the Court finds Defendant Pittera committed the
  violations alleged in the Complaint.

        8.     Defendant Pittera is not an infant or incompetent person, and has
  no guardian, committee, conservator or other such person appearing on his
  behalf. Defendant Pittera is not in military service.

        Accordingly, it is:

        ORDERED, ADJUDGED, AND DECREED that Plaintiff’s Motion for Entry
  of Default Final Judgment of Permanent Injunction and Other Relief Against
  Defendant Joseph L. Pittera is GRANTED. Default Final Judgment is entered
  against Pittera as follows:

                                          I.

                SECTIONS 5(a) and 5(c) OF THE SECURITIES ACT

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that
  Defendant Pittera is permanently restrained and enjoined from violating
  Sections 5(a) and 5(c) of the Securities Act of 1933 (the “Securities Act”), 15
  U.S.C. § 77e(a) and 77e(c), by, directly or indirectly, in the absence of any
  applicable exemption:
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        (a) unless a registration statement is in effect as to a security, making use
  of any means or instruments of transportation or communication in interstate
  commerce or of the mails to sell such security through the use or medium of
  any prospectus or otherwise; or

  ...

        (c) making use of any means or instruments of transportation or
  communication in interstate commerce or of the mails to offer to sell or offer to
  buy through the use or medium of any prospectus or otherwise any security,
  unless a registration statement has been filed with the Commission as to such
  security, or while the registration statement is the subject of a refusal order or
  stop order or (prior to the effective date of the registration statement) any public
  proceeding or examination under Section 8 of the Securities Act, 15 U.S.C. §
  77h.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
  provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph
  also binds the following who receive actual notice of this Final Judgment by
  personal service or otherwise:     (a) Defendant’s officers, agents, servants,
  employees, and attorneys; and (b) other persons in active concert or
  participation with Defendant or with anyone described in (a).

                                           II.

                     DISGORGEMENT AND CIVIL PENALTIES

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that
  Defendant is liable for disgorgement of $5,000, representing profits gained as a
  result of the conduct alleged in the Complaint, together with prejudgment
  interest thereon in the amount of $823.29, for a total of $5,823.29, and a
  second-tier civil penalty in the amount of $ 50,000 pursuant to Section 20(d) of
  the Securities Act, 15 U.S.C. § 77t(d). Defendant shall satisfy this obligation by
  paying
  $5,823.29 of disgorgement and prejudgment interest and $ 50,000 of civil
  penalties to the Securities and Exchange Commission within 14 days after
  entry of this Final Judgment.
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         Defendant may transmit payment electronically to the Commission,
   which will provide detailed ACH transfer/Fedwire instructions upon request.
   Payment may also be made directly from a bank account via Pay.gov through
   the SEC website at http://www.sec.gov/about/offices/ofm.htm. Defendant
   may also pay by certified check, bank cashier’s check, or United States postal
   money order payable to the Securities and Exchange Commission, which shall
   be delivered or mailed to

                           Enterprise Services Center
                           Accounts Receivable Branch
                           6500 South MacArthur Boulevard
                           Oklahoma City, OK 73169

        and shall be accompanied by a letter identifying the case title, civil action
  number, and name of this Court; [Defendant’s name] as a defendant in this
  action; and specifying that payment is made pursuant to this Final Judgment.

         Defendant shall simultaneously transmit photocopies of evidence of
  payment and case identifying information to the Commission’s counsel in this
  action. By making this payment, Defendant relinquishes all legal and equitable
  right, title, and interest in such funds and no part of the funds shall be
  returned to Defendant. The Commission shall send the funds paid pursuant to
  this Final Judgment to the United States Treasury.

         The Commission may enforce the Court’s judgment for disgorgement and
  prejudgment interest by moving for civil contempt (and/or through other
  collection procedures authorized by law) at any time after 14 days following
  entry of this Final Judgment. Defendant shall pay post judgment interest on
  any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                          III.

                                PENNY STOCK BAR

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that
  Defendant Pittera is permanently barred from participating in an offering of
  penny stock, including engaging in activities with a broker, dealer, or issuer for
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  purposes of issuing, trading, or inducing or attempting to induce the purchase
  or sale of any penny stock. A penny stock is any equity security that has a
  price of less than five dollars, except as provided in Rule 3a51-1 under the
  Securities Exchange Act of 1934, 17 C.F.R. 240.3a51-1.

                                          IV.

                          RETENTION OF JURISDICTION

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this
  Court shall retain jurisdiction over this matter and over Defendant Pittera in
  order to implement and carry out the terms of all orders and decrees that may
  be entered and/or to entertain any suitable application or motion for additional
  relief within the jurisdiction of this Court, and will order other relief that this
  Court deems appropriate under the circumstances.

                                           V.

                              RULE 54(b) CERTIFICATION

        There being no just reason for delay, pursuant to Rule 54(b) of the
  Federal Rules of Civil Procedure, the Clerk is ordered to enter this Judgment
  forthwith and without further notice.

        Done and ordered at Miami, Florida, on May 31, 2016.

                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge


  Copies to:
  Joseph L. Pittera, pro se                     (via First-Class Mail)
  1308 Sartori Ave #109
  Torrance, CA 90501

  Joseph L. Pittera c/o Al West, Esq. West & Associates
  700 N. Pacific Coast Hwy #201
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  Redondo Beach, CA 90277
